          Case 16-60040 Document 2471 Filed in TXSB on 10/25/17 Page 1 of 4



                 IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                    VICTORIA DIVISION
                                       )
In re:                                 )       Chapter 11
                                       )
LINN ENERGY, LLC, et al., 1            )       Case No. 16-60040 (DRJ)
                                       )
                           Debtors.    )       (Jointly Administered)
                                        )

          AGREED MOTION FOR ENTRY OF ORDER WITHDRAWING
      PROOF OF CLAIM NUMBER 7985 FILED BY CALIFORNIA STATE LANDS
         COMMISSION AGAINST BERRY PETROLEUM COMPANY, LLC

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

        The above-captioned debtors (collectively, the “Berry Debtors” and after the effective date of their

plan of reorganization, the “Reorganized Berry Debtors”) and the California State Lands Commission (the

“Commission”) (together, the “Parties”) file this Agreed Motion for Entry of Order Withdrawing Proof of

Claim Number 7985 Filed by California State Lands Commission Against Berry Petroleum Company,

LLC (“Agreed Motion”), and would respectfully show this Court as follows:

                                       I.      JURISDICTION AND VENUE

        1.       The United States Bankruptcy Court for the Southern District of Texas has jurisdiction

over this matter under 28 U.S.C. § 1334. The Court can hear and determine this matter under 28

U.S.C. § 157, and the standing order of reference from the District Court. This matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2).

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




1
  The Reorganized Berry Debtors in these chapter 11 cases and the last four digits of each Reorganized Berry Debtor’s
federal tax identification number are as follows: Berry Petroleum Company, LLC (9387); Linn Acquisition Company, LLC
(4791).

AGREED MOTION FOR ENTRY OF ORDER WITHDRAWING
PROOF OF CLAIM                                                                                     Page 1 of 4
         Case 16-60040 Document 2471 Filed in TXSB on 10/25/17 Page 2 of 4



        3.     The bases for relief in this Agreed Motion are 11 U.S.C. § 105(a) and Fed. R. Bankr. P.

3006.

                                           II.     BACKGROUND

        4.     On May 11, 2016, the Berry Debtors filed voluntary petitions for relief under chapter 11

of the Bankruptcy Code, commencing the above-captioned chapter 11 cases.

        5.     On August 4, 2016 Court entered an order (the “Bar Date Order”), setting a deadline for

creditors to file proofs of claim against the Berry Debtors [Docket No. 756]. The Bar Date Order set

September 16, 2016 as the deadline for all creditors—other than governmental units—to file proofs of

claim against the Berry Debtors, and set November 7, 2016 as the deadline for governmental units to file

claims against the Berry Debtors.

        6.     On March 20, 2017, the Commission filed proof of claim number 7985 (the “Claim”)

against the Berry Petroleum Company, LLC.

        7.     On October 13, 2017, the Reorganized Berry Debtors filed their Objection to Proof of

Claim Number 7985 Filed by California State Lands Commission [Docket No. 2427] (the “Objection”).

                                        III.     RELIEF REQUESTED

        8.     Federal Rule of Bankruptcy Procedure 3006 provides in pertinent part:

               If after a creditor has filed a proof of claim, an objection is filed thereto…the creditor
               may not withdraw the claim except on order of the court after a hearing on notice to
               the trustee or debtor in possession, and any creditors committee elected pursuant to
               § 705(a) or § 1102 of the Code.

Fed. R. Bank. P. 3006.

        9.     Because an Objection has been filed to the Claim, Rule 3006 requires that the

Commission may not withdraw its Claim absent an order from this Court.

        10.    The Parties believe that the withdrawal of the Claim is in the best interests of the

creditors and the estate of the Berry Debtors.


AGREED MOTION FOR ENTRY OF ORDER WITHDRAWING
PROOF OF CLAIM                                                                               Page 2 of 4
         Case 16-60040 Document 2471 Filed in TXSB on 10/25/17 Page 3 of 4



       11.     By this Agreed Motion, and in accordance with the requirements of Rule 3006, the

Parties ask the Court to enter an order, substantially in the form attached hereto as Exhibit A,

ordering that the Claim be withdrawn.

       WHEREFORE, the Parties respectfully request that this Court (i) enter an order,

substantially in the form attached hereto as Exhibit A, ordering the withdrawal of Proof of Claim

Number 7958, and (ii) for such other and further relief to which the Parties may be entitled.

DATED:       October 25, 2017                Respectfully submitted,

                                             NORTON ROSE FULBRIGHT US LLP

                                              /s/ William R. Greendyke
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                                                            - and –




AGREED MOTION FOR ENTRY OF ORDER WITHDRAWING
PROOF OF CLAIM                                                                           Page 3 of 4
        Case 16-60040 Document 2471 Filed in TXSB on 10/25/17 Page 4 of 4




                                                     /s/ Eric Soderlund
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                                                   COUNSEL FOR CALIFORNIA STATE
                                                   LANDS COMMISSION




                               CERTIFICATE OF SERVICE

      I hereby certify that on October 25, 2017, a true and correct copy of the foregoing Agreed
Motion was served by the Court’s CM/ECF system on all parties registered to receive such notice.

                                             /s/ Julie Goodrich Harrison




AGREED MOTION FOR ENTRY OF ORDER WITHDRAWING
PROOF OF CLAIM                                                                       Page 4 of 4
